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                          UNITED STATES DISTRICT COURT
  9
          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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      COURTNEY VO, an individual,            Case No. 8:20-cv-01948 CJC (JDEx)
 11
                 Plaintiff,                  ORDER RE: STIPULATION FOR
 12                                          DISMISSAL OF THE ENTIRE
           vs.                               ACTION
 13
      AMTRUST FINANCIAL SERVICES,
 14 INC., a California corporation; and DOES Action Filed:    July 14, 2020
      1 THROUGH 25, inclusive,               Trial Date:      March 29, 2022
 15                                          District Judge: Hon. Cormac J. Carney
                 Defendants.                 Magistrate Judge:Hon. John D. Early
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                                                         Case No. 8:20-cv-01948 CJC (JDEx)
         ORDER RE: STIPULATION FOR DISMISSAL OF THE ENTIRE ACTION
Case 8:20-cv-01948-CJC-JDE Document 20 Filed 11/22/21 Page 2 of 2 Page ID #:167



  1                                          ORDER
  2         The Parties having stipulated, IT IS HEREBY ORDERED that the entire action
  3   be dismissed with prejudice.
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      DATED: November 22, 2021                   _____________________________
  6                                              The Honorable Cormac J. Carney
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         ORDER RE: STIPULATION FOR DISMISSAL OF THE ENTIRE ACTION
